    Case 2:23-cv-00473-JRG Document 19 Filed 02/02/24 Page 1 of 2 PageID #: 556




                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



   SYMBOLOGY INNOVATIONS,
   LLC,                                                   Case No. 2:23-cv-473-JRG

                  Plaintiff,                              Jury Trial Demanded

                  v.


   DEXCOM, INC.


                  Defendant.




             RESPONSE TO DEFENDANT’S MOOT RULE 12(c) MOTION TO DISMISS

       Plaintiff files this response in opposition to merely point out the Defendant’s motion to dismiss
under Rule 12(c) is premature as it is based on the pleadings, yet the pleadings may be amended, and

indeed have been amended in this case. (Dkt. No. 18). As such, Defendant Dexcom’s motion is
premature. Additionally, Defendant Dexcom has not served its subject matter patentability contentions
as of the date of this filing. Thus, Defendant Dexcom’s motion is moot and should be dismissed without
prejudice.




BRIEF IN OPPOSITION TO MOTION TO DISMISS                                                                   1
   Case 2:23-cv-00473-JRG Document 19 Filed 02/02/24 Page 2 of 2 PageID #: 557




Dated: December 2, 2024                    Respectfully Submitted

                                           /s/ Randall Garteiser
                                           M. Scott Fuller
                                              Texas Bar No. 24036607
                                              sfuller@ghiplaw.com
                                           Randall Garteiser
                                              Texas Bar No. 24038912
                                              rgarteiser@ghiplaw.com
                                           Christopher A. Honea
                                              Texas Bar No. 24059967
                                              chonea@ghiplaw.com
                                           René A. Vazquez
                                              Virginia Bar No. 41988
                                              rvazquez@ghiplaw.com

                                           GARTEISER HONEA, PLLC
                                           119 W. Ferguson Street
                                           Tyler, Texas 75702
                                           Telephone: (903) 705-7420
                                           Facsimile: (903) 405-3999

                                           ATTORNEYS FOR PLAINTIFF
                                           INTERCURRENCY SOFTWARE LLC




BRIEF IN OPPOSITION TO MOTION TO DISMISS                                         2
